  Case 2:14-cr-00517-TS Document 199 Filed 10/19/20 PageID.486 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,                            MEMORANDUM DECISION AND
                                                     ORDER DENYING DEFENDANT’S
                         Plaintiff,                  MOTION FOR COMPASSIONATE
                                                     RELEASE
v.

JESUS MARTINEZ, JR.,
                                                     Case No. 2:14-CR-517 TS
                         Defendant.
                                                     District Judge Ted Stewart


       This matter is before the Court on Defendant’s Motion for Compassionate Release. For

the reasons discussed below, the Court will deny Defendant’s Motion without prejudice.

       18 U.S.C. § 3582(c)(1)(A) allows the Court to modify a term of imprisonment under

certain circumstances. Relevant here,

       the court . . . upon motion of the defendant . . . may reduce the term of imprisonment
       (and may impose a term of probation or supervised release with or without
       conditions that does not exceed the unserved portion of the original term of
       imprisonment), after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if it finds that . . . extraordinary and compelling
       reasons warrant such a reduction . . . and that such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission.

       The Sentencing Commission has been given the responsibility to describe “what should

be considered extraordinary and compelling reasons for sentence reduction, including the criteria

to be applied and a list of specific examples.” 1 Relevant here, the Sentencing Commission has

stated that a defendant “suffering from a serious physical or medical condition” “that

substantially diminishes the ability of the defendant to provide self-care within the environment


       1
           28 U.S.C. § 944(t).


                                                 1
  Case 2:14-cr-00517-TS Document 199 Filed 10/19/20 PageID.487 Page 2 of 3




of a correctional facility and from which he or she is not expected to recover” may be considered

for a sentence reduction. 2

       Defendant states that he suffers from severe asthma and hypertension. Defendant

contends that these conditions, in conjunction with the current COVID-19 pandemic, warrant a

sentence reduction. The Centers for Disease Control and Prevention has stated that people with

moderate to severe asthma and people with hypertension might be at a higher risk for severe

illness from COVID-19. However, Defendant provides no evidence to support his assertion that

he suffers from these ailments, and the evidence before the Court does not support his claim.

The original Presentence Report indicated that Defendant was in good physical health and was

not taking any prescribed medication. The First Step Act Relief Eligibility Report prepared in

response to this Motion states that there are no BOP records of Defendant being diagnosed with

asthma or hypertension or being prescribed medications for these conditions. Without additional

information about the nature and severity of Defendant’s health conditions, the Court cannot

conclude that Defendant is more susceptible to contracting COVID-19 or suffering a more

serious reaction. While the Court is sympathetic to Defendant’s concerns, he has not

demonstrated extraordinary and compelling reasons for his release.

       It is therefore

       ORDERED that Defendant’s Motion for Compassionate Release (Docket No. 196) is

DENIED WITHOUT PREJUDICE.




       2
           U.S.S.G. § 1B1.13, Application Note 1(A).


                                                2
Case 2:14-cr-00517-TS Document 199 Filed 10/19/20 PageID.488 Page 3 of 3




   DATED this 19th day of October, 2020.

                                     BY THE COURT:



                                     Ted Stewart
                                     United States District Judge




                                           3
